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                                             MINUTES



  CASE NUMBER:                1:21-CV-00006-DKW-RT

  CASE NAME:                  Preston Lee v. L3Harris Technologies, Inc.

  ATTYS FOR PLA:              Joseph Rosenbaum

  ATTYS FOR DEFT:             Amanda Jones



         JUDGE:        Rom Trader                        REPORTER:            AT&T

         DATE:         02/08/2021                        TIME:                9:00 - 9:05 a.m.



 COURT ACTION:           EP: TELEPHONIC RULE 16 SCHEDULING CONFERENCE not
 held.

 Discussion had regarding related case set before District Judge Kobayashi and Magistrate Judge
 Mansfield (Preston Lee v. L3Harris Technologies, Inc., et al.; 1:20-CV-00489-LEK-KJM).

 Mr. Rosenbaum to file amended complaint in related case by no later than 2/17/2021. Dismissal
 with prejudice due in instant matter by 3/1/2021.

 Court sets Telephonic Status Conference for 3/16/2021 at 9:00 a.m. before Magistrate Judge
 Trader. Should the notice of voluntary dismissal be received prior, the Court will vacate this
 conference.

 Parties and other participants must call-in at least five (5) minutes prior to the scheduled start time
 of the conference. Call-in instructions are below:

 1. Dial 1-888-363-4735
 2. Enter Access Code 2070326



 Submitted by: Lian Abernathy, Courtroom Manager
